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                     EXHIBIT A
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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

  AMERICAN ALLIANCE FOR EQUAL
  RIGHTS, a nonprofit corporation,
                         Plaintiff,
         v.
  KAY IVEY, in her official capacity as
  Governor of the State of Alabama,                   Civil Action No. 2:24-cv-00104-RAH-JTA
                         Defendant,
              and
  ALABAMA ASSOCIATION OF REAL
  ESTATE BROKERS, a nonprofit corporation,
               Intervenor Defendant.



                                      [PROPOSED] ORDER

       This matter comes before the Court on Intervenor Defendant’s Unopposed Motion to

Extend Defendants’ Expert Disclosure Deadline. Upon review of the Motion and all attachments

thereto, and for good cause shown therein, the Court hereby ORDERS that Intervenor

Defendant’s Unopposed Motion to Extend Defendants’ Expert Disclosure Deadline is

GRANTED. The Expert Disclosure Deadline for defendants in the Court’s Scheduling Order

(Doc. 72) shall be extended by 32 days, through and including March 14, 2025. All other

deadlines contained therein shall stand as ordered.


SO ORDERED this the ________ day of _______________________, 2024.


                                              ___________________________________

                                                         R. Austin Huffaker, Jr.
                                                       United States District Judge
